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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA             )
                                      )
             v.                       )     CAUSE NO. 3:07-CR-128 (2) RM
                                      )
 FREDERICK CAMPBELL (2)               )
 AKA MICHAEL MCCOY                    )


                                      ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on January 22, 2008 [Doc. No. 34].

 Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Frederick Campbell’s plea of guilty, and FINDS the defendant

 guilty of Count 1 of the Indictment, in violation of 18 U.S.C. § 472 and 2.

       SO ORDERED.

       ENTERED:      February 11, 2008




                                         /s/ Robert L. Miller, Jr.
                                      Chief Judge
                                      United States District Court
